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     Attorney for Oscar Villareal
6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA           )       No. 2:07-cr-00300-MCE
                                        )
10          Plaintiff                   )
                                        )
11      v.                              )       STIPULATION AND ORDER
                                        )       MODIFYING TIME FOR
12   OSCAR VILLAREAL                    )       JUDGMENT AND SENTENCE
                                        )
13          Defendant.                  )
     ___________________________________)
14
15
16         In the above case, the Court had set a date of July 3, 2008 for
17   Sentencing.   However, Attorney J. Toney will be out of the area on
18   that date.    Furthermore, additional time is needed to conclude the
19   Defendant’s state prosecution which will facilitate resolution of
20   this case.    The parties therefore STIPULATE that the sentencing be
21   continued to August 14, 2008 and request the Court to so order.
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23   ///
24   ///
25   ///
26   ///
27   ///
28                                        1
       Case 2:07-cr-00300-MCE Document 48 Filed 06/30/08 Page 2 of 2


1    Dated June 24, 2008
2
3        /s KYLE REARDON                               /s J. TONEY
4           Kyle Reardon                                  J. Toney
5    Assistant U.S. Attorney                    Attorney for Defendant
6
7                                ORDER
8         Good cause being shown, the date for sentencing is ordered
9    continued to August 14, 2008.
10
     Dated: June 30, 2008
11
12                                       _____________________________
                                         MORRISON C. ENGLAND, JR.
13
                                         UNITED STATES DISTRICT JUDGE
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